
356 S.W.3d 880 (2012)
STATE of Missouri, Plaintiff/Respondent,
v.
DeWayne WHITE, Defendant/Appellant.
No. ED 96298.
Missouri Court of Appeals, Eastern District, Division Three.
January 17, 2012.
Shaun J. Mackelprang, John W. Grantham, Jefferson City, MO, for Plaintiff/Respondent.
Ellen H. Flottman, Columbia, MO, for Defendant/Appellant.
Before ROBERT G. DOWD, JR., P.J., MARY K. HOFF, J., and SHERRI B. SULLIVAN, J.

ORDER
PER CURIAM.
DeWayne White (Appellant) appeals from the trial court's judgment entered upon a jury verdict finding him guilty of two counts of first-degree statutory sodomy. Section 566.062;[1] first-degree child molestation, Section 566.067; first-degree child endangerment, Section 568.045; and two counts of furnishing pornography to a minor. Section 573.040. We have reviewed the briefs of the parties and the record on appeal and conclude that the trial court did not abuse its discretion in denying Appellant's motion for a mistrial. State v. Benedict, 319 S.W.3d 483, 487 (Mo.App. S.D. 2010). An extended opinion would have no precedential value. We have, however, provided a memorandum setting forth the reasons for our decision to the parties for their use only. We affirm the judgment pursuant to Missouri Rule of Criminal Procedure 30.25(b).
NOTES
[1]  All statutory citations are to RSMo 2006, unless otherwise indicated.

